                                              Case 3:13-cv-01385-JLS-DHB Document 1 Filed 06/13/13 PageID.1 Page 1 of 8



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                                                                      UNITED STATES DISTRICT COURT
                                         10
                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                         11
                                         12
                                                                                                               '13CV1385 JLS DHB
HYDE & SWIGART




                                                    Joseph Ratcliff,                                  Case No: ________________
                 Riverside, California




                                         13
                                         14                              Plaintiff,                   Complaint For Damages
                                                    v.
                                         15                                                           Jury Trial Demanded
                                         16         Frontline Asset Strategies, LLC &
                                                    Equable Ascent Financial, LLC
                                         17
                                         18                              Defendants.

                                         19                                              INTRODUCTION
                                         20    1.        The United States Congress has found abundant evidence of the use of
                                         21              abusive, deceptive, and unfair debt collection practices by many debt
                                         22              collectors, and has determined that abusive debt collection practices
                                         23              contribute to the number of personal bankruptcies, to marital instability, to the
                                         24              loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                         25              Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                         26              “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                         27              to insure that those debt collectors who refrain from using abusive debt
                                         28

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                                               Complaint for Damages                            - 1 of 8 -
                                              Case 3:13-cv-01385-JLS-DHB Document 1 Filed 06/13/13 PageID.2 Page 2 of 8



                                          1           collection practices are not competitively disadvantaged, and to promote
                                          2           consistent State action to protect consumers against debt collection abuses.
                                          3    2.     The California legislature has determined that the banking and credit system
                                          4           and grantors of credit to consumers are dependent upon the collection of just
                                          5           and owing debts and that unfair or deceptive collection practices undermine
                                          6           the public confidence that is essential to the continued functioning of the
                                          7           banking and credit system and sound extensions of credit to consumers. The
                                          8           Legislature has further determined that there is a need to ensure that debt
                                          9           collectors exercise this responsibility with fairness, honesty and due regard
                                         10           for the debtor’s rights and that debt collectors must be prohibited from
                                         11           engaging in unfair or deceptive acts or practices.
                                         12    3.     Joseph Ratcliff, (“Plaintiff”), through Plaintiff's attorneys, brings this action to
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                                         13           challenge the actions of Frontline Asset Strategies, LLC, (“Frontline”),
                                         14           Equable Asset Financial, LLC (“Equable”), collectively, (“Defendants”), with
                                         15           regard to attempts by Defendants to unlawfully and abusively collect a debt
                                         16           allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
                                         17    4.     Plaintiff makes these allegations on information and belief, with the exception
                                         18           of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                         19           Plaintiff alleges on personal knowledge.
                                         20    5.     While many violations are described below with specificity, this Complaint
                                         21           alleges violations of the statutes cited in their entirety.
                                         22    6.     Unless otherwise stated, all the conduct engaged in by Defendants took place
                                         23           in California.
                                         24    7.     Any violations by Defendants were knowing, willful, and intentional, and
                                         25           Defendants did not maintain procedures reasonably adapted to avoid any such
                                         26           violation.
                                         27
                                         28    //

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                                               Complaint for Damages                            - 2 of 8 -
                                              Case 3:13-cv-01385-JLS-DHB Document 1 Filed 06/13/13 PageID.3 Page 3 of 8



                                          1                                       JURISDICTION AND VENUE
                                          2    8.     Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                          3           1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                          4    9.     This action arises out of Defendants’ violations of the Fair Debt Collection
                                          5           Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair
                                          6           Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
                                          7           (“Rosenthal Act”).
                                          8    10.    Because Defendants’ conduct business within the State of California, personal
                                          9           jurisdiction is established.
                                         10    11.    Venue is proper pursuant to 28 U.S.C. § 1391.
                                         11    12.    At all times relevant, Defendants’ conducted business within the State of
                                         12           California.
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                                         13                                                  PARTIES
                                         14    13.    Plaintiff is a natural person who resides in the City of Chino Hills, State of
                                         15           California.
                                         16    14.    Frontline is located in the City of Roseville, in the State of Minnesota.
                                         17    15.    Equable is located in the City of Buffalo Grove, in the State of Illinois.
                                         18    16.    Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                         19           as that term is defined by 15 U.S.C. § 1692a(3).
                                         20    17.    Defendants are persons who uses an instrumentality of interstate commerce
                                         21           or the mails in a business the principal purpose of which is the collection of
                                         22           debts, or who regularly collects or attempts to collect, directly or indirectly,
                                         23           debts owed or due or asserted to be owed or due another and are therefore
                                         24           debt collectors as that phrase is defined by 15 U.S.C. § 1692a(6).
                                         25    18.    Plaintiff is a natural person from whom a debt collector sought to collect a
                                         26           consumer debt which was due and owing or alleged to be due and owing from
                                         27           Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
                                         28           1788.2(h).

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                                               Complaint for Damages                            - 3 of 8 -
                                              Case 3:13-cv-01385-JLS-DHB Document 1 Filed 06/13/13 PageID.4 Page 4 of 8



                                          1    19.    Defendants, in the ordinary course of business, regularly, on behalf of
                                          2           himself, herself, or others, engages in debt collection as that term is defined
                                          3           by California Civil Code § 1788.2(b), and are therefore debt collectors as that
                                          4           term is defined by California Civil Code § 1788.2(c).
                                          5    20.    This case involves money, property or their equivalent, due or owing or
                                          6           alleged to be due or owing from a natural person by reason of a consumer
                                          7           credit transaction. As such, this action arises out of a consumer debt and
                                          8           “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                          9                                        FACTUAL ALLEGATIONS
                                         10    21.    Sometime before October 27, 2010, Plaintiff is alleged to have incurred
                                         11           certain financial obligations.
                                         12    22.    These financial obligations were primarily for personal, family or household
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                                         13           purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                         14           §1692a(5).
                                         15    23.    These alleged obligations were money, property, or their equivalent, which is
                                         16           due or owing, or alleged to be due or owing, from a natural person to another
                                         17           person and are therefore a “debt” as that term is defined by California Civil
                                         18           Code §1788.2(d), and a “consumer debt” as that term is defined by California
                                         19           Civil Code §1788.2(f).
                                         20    24.    Sometime thereafter, but before October 27, 2010, Plaintiff allegedly fell
                                         21           behind in the payments allegedly owed on the alleged debt. Plaintiff currently
                                         22           takes no position as to the validity of this alleged debt.
                                         23    25.    Subsequently, but before October 27, 2010, the alleged debt was assigned,
                                         24           placed, or otherwise transferred, to Equable for collection.
                                         25    26.    On or about October 27, 2010, Equable filed a lawsuit against Plaintiff in the
                                         26           San Bernardino Superior Court, Case Number CIVRS1011646.
                                         27    27.    On or about March 17, 2011, Equable filed a request for entry of default
                                         28           against Plaintiff for Case Number CIVRS1011646.

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                                               Complaint for Damages                            - 4 of 8 -
                                              Case 3:13-cv-01385-JLS-DHB Document 1 Filed 06/13/13 PageID.5 Page 5 of 8



                                          1    28.    On or about June 6, 2011, upon retaining present counsel, counsel, acting on
                                          2           behalf of Plaintiff, filed Plaintiff’s motion to set aside the default & default
                                          3           judgement & quash service of summons for Case Number CIVRS1011646.
                                          4    29.    On or about November 2, 2011, Equable’s entry of default judgement was
                                          5           vacated by the court.
                                          6    30.    On or about April 5, 2013, Frontline mailed a dunning letter to Plaintiff. A
                                          7           few days later, Plaintiff received that letter.
                                          8    31.    This communication to Plaintiff was a “communication” as that term is
                                          9           defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                         10           with 15 U.S.C. § 1692g(a).
                                         11    32.    This communication was a “debt collection” as Cal. Civ. Code 1788.2(b)
                                         12           defines that phrase, and an “initial communication” consistent with Cal. Civ.
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                                         13           Code § 1812.700(b).
                                         14    33.    Frontline’s April 5, 2013 letter to Plaintiff stated in part, “A judgement was
                                         15           entered against you on 03/17/2011. Your unpaid judgment has been turned
                                         16           over to us for collection with a total amount due of $8,154.78.”
                                         17    34.    Without the prior consent of the consumer given directly to the Defendants or
                                         18           the express permission of a court of competent jurisdiction, Defendant s
                                         19           communicated with the consumer in connection with the collection of a debt
                                         20           when Defendants knew the consumer was represented by an attorney with
                                         21           respect to such debt and had knowledge of, or could have readily ascertained
                                         22           such attorney’s name and address.               Consequently, Defendants violated 15
                                         23           U.S.C. § 1692c(a)(2).
                                         24    35.    Because this violated certain portions of the federal Fair Debt Collection
                                         25           Practices Act as these portions are incorporated by reference in the Rosenthal
                                         26           Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
                                         27           this conduct or omission violated Cal. Civ. Code § 1788.17.
                                         28

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                                               Complaint for Damages                            - 5 of 8 -
                                              Case 3:13-cv-01385-JLS-DHB Document 1 Filed 06/13/13 PageID.6 Page 6 of 8



                                          1                                           CAUSES OF ACTION
                                          2                                                  COUNT I
                                          3                      FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                          4                                       15 U.S.C. §§ 1692 ET SEQ.
                                          5                                       (AS TO ALL DEFENDANTS)
                                          6    36.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                          7           paragraphs.
                                          8    37.    The foregoing acts and omissions constitute numerous and multiple violations
                                          9           of the FDCPA, including but not limited to each and every one of the above-
                                         10           cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                         11    38.    As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                         12           any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
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                                         13           an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                         14           reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                         15           Defendants.
                                         16                                                  COUNT II
                                         17          ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)
                                         18                                  CAL. CIV. CODE §§ 1788-1788.32
                                         19                                       (AS TO ALL DEFENDANTS)
                                         20    39.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                         21           paragraphs.
                                         22    40.    The foregoing acts and omissions constitute numerous and multiple violations
                                         23           of the Rosenthal Act, including but not limited to each and every one of the
                                         24           above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32
                                         25    41.    As a result of each and every violation of the Rosenthal Act, Plaintiff is
                                         26           entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a);
                                         27           statutory damages for a knowing or willful violation in the amount up to
                                         28

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                                               Complaint for Damages                            - 6 of 8 -
                                              Case 3:13-cv-01385-JLS-DHB Document 1 Filed 06/13/13 PageID.7 Page 7 of 8



                                          1           $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s
                                          2           fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendants.
                                          3                                                 COUNT III
                                          4                                   NEGLIGENT HIRING/RETENTION
                                          5                                            (AS TO EQUABLE)
                                          6    42.    Plaintiff incorporates by reference all of the above paragraphs of this
                                          7           Complaint as though fully stated herein.
                                          8    43.    Defendant Equable owed Plaintiff a duty to properly and lawfully carry out
                                          9           debt collection matters breached that duty to Plaintiff.
                                         10    44.    Defendant Equable hired Defendant Frontline who were incompetent, and
                                         11           unfit for the job of debt collections.
                                         12    45.    Defendant Equable knew, or should have known, that Defendants Frontline
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                                         13           presented an unreasonable harm to others.
                                         14    46.    Defendant Equable committed a willful, intentional or negligent act, which
                                         15           resulted in injury to Plaintiff.
                                         16    47.    Plaintiff's injuries are proximately caused by Equable’s retention of Frontline.
                                         17
                                         18    //
                                         19    //
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                                         25    //
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                                               Complaint for Damages                            - 7 of 8 -
                                              Case 3:13-cv-01385-JLS-DHB Document 1 Filed 06/13/13 PageID.8 Page 8 of 8



                                          1                                          PRAYER FOR RELIEF
                                          2    WHEREFORE, Plaintiff prays that judgment be entered against Defendants, and
                                          3    Plaintiff be awarded damages from Defendants, as follows:
                                          4           •      An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                                          5                  1692k(a)(2)(A);
                                          6           •      An award of costs of litigation and reasonable attorney’s fees, pursuant
                                          7                  to 15 U.S.C. § 1692k(a)(3);
                                          8           •      An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
                                          9                  § 1788.30(b);
                                         10           •      An award of costs of litigation and reasonable attorney’s fees, pursuant
                                         11                  to Cal. Civ. Code § 1788.30(c).
                                         12    48.    Pursuant to the seventh amendment to the Constitution of the United States of
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                 Riverside, California




                                         13           America, Plaintiff is entitled to, and demands, a trial by jury.
                                         14
                                         15    Respectfully submitted,
                                                                                                      Hyde & Swigart
                                         16
                                         17
                                               Date: June 13, 2013                                By:s/Crosby S. Connolly
                                         18
                                                                                                     Crosby S. Connolly
                                         19                                                         Attorneys for Plaintiff
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                                               Complaint for Damages                            - 8 of 8 -
